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 Politics



State Rep. Simpson on redistricting: 'It would not surprise me if
we have seven Republican congressmen' after 2024 election
Jeff Poor 07.16.23




(Jeff Poor/1819 News)

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"When the Mighty Alabama Strike Force gets activated — you don't have to go to Georgia," Simpson
added, referring to a group of Republican door-knockers who have traveled to different states in the
past to support GOP candidates.

Jeff Poor is the editor in chief of 1819 News and host of "The Jeff Poor Show," heard Monday-Friday, 9
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